             Case 15-15969-elf                     Doc 97            Filed 03/22/19 Entered 03/22/19 15:51:19                                     Desc Main
                                                                     Document      Page 1 of 2
                                    L-.B.F. 2016-2C "Supplemental" Application of Counsel for Debtor
                                 for Compensation and Reimbursement of Expenses for Post Confirmation
                                                Services Payable by the Chapter 13 Trustee

                                                        UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF PENNSYLVANIA

                                      In re:                                                       )            Chapter 13
                                                         Elaine Jones                              )
                                                                                                   )
                                                                                                   )
                                                                               Debtor              )            Bankruptcy No.15-15969

                                                   SUPPLEMENTAL APPLICATIONS FOR
                                            COMPENSATION AND REIMBURSEMENT OF EXPENSES
                                             FOR SERVICES PERFORMED AFTER CONFIRMATION
                                                          OF CHAPTER 13 PLAN

                                               ................................................................................................
                                                                             Brad J. Sadek, Esquire

applies under § 330 of the Code for an order directing the chapter 13 trustee to pay an award of compensation and
reimbursement of actual, necessary expenses for services performed after confirmation of the debtor's chapter 13 plan and
represents:

1. Applicant is counsel for debtor.

2. The debtor filed a petition under chapter 13 of the Bankruptcy Code on August 20, 2015

3. The debtor's chapter 13 plan was confirmed by the court on April 19, 2016

4. The debtor paid the applicant $ 2582.00 prior to the filing of the chapter 13 petition.

5. Applicant's prior applications:

      First Application Period

       August 20, 2015            to February 29, 2016 Date of Order April 25, 2016

                                           Requested                               Allowed                                      Paid                            Due
 Fees                                $        3,670.00                   $       3,670.00                         $       2,582.00                $        0.00

 Expenses                            $                                   $                                        $                               $

    Second Application Period
      to   Date of Order

 Fees                                $                                   $                                        $                               $
 Expenses                            $                                   $                                        $                               $
 Grand Totals                        $                                   $                                        $                               $

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
             Case 15-15969-elf                     Doc 97            Filed 03/22/19 Entered 03/22/19 15:51:19           Desc Main
                                                                     Document      Page 2 of 2

6. Applicant requests an award of supplemental compensation of $ 1,500.00 for 6.9 hours expended in providing the
   following services: Calls with client and mortgage company, Faxes to mortgage company, preparation and filing of
      amended plan, Preparation and filing of Motion to Reconsider and Motion to Modify Plan

7. Applicant requests that compensation be awarded at the following hourly rate(s):
       $335.00/hour for attorneys; $125.00/per paralegal

8. Applicant requests reimbursement of expenses in the amount of $ 0.00 for the following expenses

9. A copy of the applicant's disclosure of compensation pursuant to F.R.B.P. 2016(b) is attached as Exhibit "A"

10. Attached as Exhibit B is a copy of the applicants time records setting forth the dates and amount of time expended for
    the services performed on behalf of the debtor after confirmation of debtor's chapter 13 plan.

11. All services rendered and expenses incurred for which compensation or reimbursement is requested

                  a. were performed or incurred for or on behalf of the debtor, the services and expenses were actual and
                  necessary, and the compensation requested for those services is reasonable; and

                  b. are not duplicative of services and expenses for which compensation or reimbursement was previously
                  requested.

12. If this supplemental application is granted, the debtor's confirmed chapter 13 plan (check whichever is applicable)

                       is adequately funded.

                       is not adequately funded.

13. None of the compensation paid to applicant will be shared with any person other than a member or regular associate
    of applicant's law firm unless 11 U.S.C §504(c) applies.

WHEREFORE, Applicant requests an award of $ 1,500.00 in compensation and of $ 0.00 in reimbursement of actual,
necessary expenses.

        Dated:         March 22, 2019                                       Signed:    /s/ Brad J. Sadek, Esquire
                                                                                                            Applicant

                                                                                By: Brad J. Sadek, Esquire
                                                                             Name: Sadek and Cooper
                                                                            Address: 1315 Walnut Street
                                                                                       Suite 502
                                                                                       Philadelphia, PA 19107
                                                                          Phone No.:   215-545-0008
                                                                            Fax No.:   215-545-0611




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy

                                                                                2
